M\ Case 2'O2-cr-20262-.]P|\/| Document 231 Filed 06/24/05 Page 1 of 3 Page|D 212

*""-'E~J wqu FcLED aYALU/uc.

l INL THE UNITED STATES DISTRICT COURT

05J ; 03 ,;PHE wEsTERN DISTRICT oF TENNE 7 353
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d&§§§§ht§r§uasater AMERICA, &LI§HSFL!"'"S* M§Nipmé a
Plaintiff/Respondent,

VS. CR NO. 02-20262-Ml

 
   
 
  

M_OTIO
W I LL IAM HARR I S , N GMTED JON PHIPP? ......_“,,_
' ,/ liC/C :_-_L

Defendant/Petitioner. `__U° S' DISTRICT JUDGE

 

 

EX PARTE MoTIoN E*oR APPOINTMENT mm
PURUSANT To THE cRIMINAL JUsTICE AcT

 

Robert C. Brooks, Attorney at Law, who was retained to
represent the defendant in the Court of Appeals, hereby
moves to be appointed pursuant to the Criminal Justice Act
to represent the defendant in the District Court, and for
grounds would show to the Court that:

1) the defendant’s case has been remanded to the
district court for resentencing;

2) the defendant has previously been found to be
indigent by the district court, and he remains so; and

3) Counsel has not been retained to represent the
defendant in the district court.

WHEREFORE, PREMISES CONSIDERED, COUNSEL .PRAYS that he

be appointed to represent the defendant pursuant to the

Thts doctment entered on the docket sheet in com-gaan
with lee 55 andlor 321b) FRCrP on

' 231

Case 2:O2-cr-20262-.]P|\/| Document 231 Filed 06/24/05 Page 2 of 3 Page|D 213

Criminal Justice Act.

Respectfully sub

ROBERT c. s oo`i<s “ i \/
Attorney at aw

P.O. Box ?71 8

Memphis, TN 38

(901)?63-2832

   

   

UNITED `sETATs DISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 231 in
case 2:02-CR-20262 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Robert C. Brooks

LAW OFFICE OF ROBERT C. BROOKS
P.O. BOX 771558

1\/1emphis7 TN 38177

Honorable .1 on McCalla
US DISTRICT COURT

